  Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 1 of 15 PageID #:8397



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

NATHSON E. FIELDS,                              )
                                                )
                     Plaintiff,                 )
                                                )
              v.                                )   Case No. 10 C 1168
                                                )
CITY OF CHICAGO, et al.,                        )   Judge Matthew F. Kennelly
                                                )
                     Defendants.                )   Magistrate Judge Geraldine Soat Brown

CITY DEFENDANTS’ RESPONSE TO PLAINTIFF’S STATEMENT OF ADDITIONAL
    FACTS SUPPLEMENTING PLAINTIFF’S LOCAL RULE 56.1 STATEMENT

       Defendants, City of Chicago, David O’Callaghan, Thomas Richardson, Stephen Casto,

James Minogue, Joseph Bogdalek, Joseph Murphy, Stephen Hood, Robert Evans, and Daniel

Brannigan (jointly, the “City Defendants”), submit this Response to Plaintiff’s Statement of

Additional Facts Supplementing Plaintiff’s Local Rule 56.1 Statement:

        236. From 1983 through 1993, defendant Brannigan was a lead investigator in the task
force targeting the El Rukn organization; in a sworn statement Brannigan described the
investigation as complicated by “many unique investigative obstacles” and that cultivating
informants was “extraordinarily difficult.” Brannigan described Anthony Sumner as the first
major cooperating witness who emerged from that effort of law enforcement. (Exhibit 111:
Brannigan 8-16-1995 Affidavit, pp. 1-2.)

       RESPONSE: Not disputed.

        237. On May 9, 1985, defendant Brannigan flew to Cleveland Ohio; the next day he
participated in the arrest of Earl Hawkins, Anthony Sumner, and others individuals at an East
Cleveland house; it was after these arrests that defendants Brannigan and Wharrie interrogated
Sumner in what ATF Agents Thomas O’Brien and Lewis Wolfe described as an “extensive
interview” and secured assurances from Sumner that he would cooperate with law enforcement.
(Exhibit 28: ATF May of 1985 Report of Investigation).

       RESPONSE: Not disputed.

       238. In the aftermath of the Vaughn-White murders, Anthony Sumner and Earl
Hawkins fled to a house in Milwaukee, Wisconsin, where they told a confidential police
informant that “they went to the victim’s house because the victim ‘Joe’ owed them some
  Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 2 of 15 PageID #:8398



money” and that Hawkins had ultimately shot Joe and the wife in a struggle – the informant
made no mention of Fields. (Exhibit 112: 8-31-1985 Supp. Report).

       RESPONSE: The City Defendants object to Paragraph 238 as vague and argumentative

(“in the aftermath”). Without waiving these objections, the City Defendants do not dispute the

August 31, 1985 Supplementary Report (Plaintiff’s Ex. 112) reflects the information asserted in

this paragraph and that the report does not indicate the informant mentioned Fields’ name.

       239. In April and May of 1985, Nathson Fields was in Chicago, working as a manager
of the African Hut building; around that same time Fields evicted Anthony Sumner from that
building because of Sumner’s failure to pay the rent. (Exhibit 113: Affidavit of Nathson Fields;
Exhibit 114: 3-30-1985 Vaughn/White General Progress Report.)

       RESPONSE: The City Defendants do not dispute plaintiff’s affidavit (Plaintiff’s Ex.

113) reflects the information set forth in paragraph 239.        The City Defendants object to

plaintiff’s reliance on Plaintiff’s Exhibit 114 as irrelevant; it does not support any of the facts

asserted in this paragraph.

        240. In the wake of the Vaughn-White murders, Clarence Glenn told police that he had
seen Sundown (i.e. Anthony Sumner) approximately a week before the murders, at the 1016 E.
41st street building where Vaughn and White were later killed; Sumner told Glenn that he
needed money for rent because he was being “put out.” (Exhibit 114: 3-30-1985 Vaughn/White
General Progress Report; Exhibit 32: 3-31-1985 Vaughn/White Supp. Report.)

       RESPONSE: The City Defendants object to Paragraph 240 as vague and ambiguous (“in

the wake of …”). Without waiving these objections, the City Defendants do not dispute the

referenced exhibits (Plaintiff’s Exhibits 114 and 32) support the assertions in Paragraph 240.

       241. Defendants Murphy and O’Callaghan swore out complaints for preliminary
examination against Fields – Murphy for the Vaughn White murder, and O’Callaghan for the
Hickman-Smith murder. (Exhibit 115: Complaints for Preliminary Examination dated 5-17-1985
and 6-14-1985).

       RESPONSE: Not disputed.

        242. On June 25, 1985, defendant Murphy testified before a grand jury regarding
Fields’s supposed role in the Vaughn-White murders, describing the account of cooperator
Anthony Sumner which implicated Fields; Detective O’Callaghan has admitted that he knew of


                                                2
  Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 3 of 15 PageID #:8399



no evidence which corroborated Sumner’s account. (Exhibit: 116: 6-25-1985 Murphy Grand
Jury Testimony, Exhibit 103: O’Callaghan Deposition, pp. 67-68.)

       RESPONSE: Not disputed, except to clarify Detective O’Callaghan testified he knew of

no evidence which corroborated Sumner’s identification of Fields as an offender in the

Vaughn/White murders. (Plaintiff’s Ex. 103, pp. 67-68).

       243. Defendant Brannigan has testified that he did nothing to corroborate the
statements of Anthony Sumner implicating Fields in the Vaughn-White murders – and that he
knows of nobody who did. (Exhibit 117: Brannigan Deposition, pp. 207-208.)

       RESPONSE: Not disputed.

        244. A report dated March 31, 1985 (two days after the Vaughn and White murders)
and signed by defendant O’Callaghan reveals that Sheree Vaughn (age 12) and James Michael
Vaughn (age 8) witnessed two men murder Joe White and Dee Eggers Vaughn through a
partially open door – and that Sheree Vaughn identified Anthony Sumner as a perpetrator from a
photograph array. (Exhibit 32: 3-31-1985 Supp. Report).

       RESPONSE: Not disputed, except to clarify the report indicates Sheree Vaughn was

shown a photographic array and indicated the photograph of Anthony Sumner “looked like” one

of the offenders.

       245. Felony screening memos in relation to the arrest of Fields for the Vaughn-White
murder indicate that Assistant State’s Attorneys were (falsely) told that there were no
eyewitnesses to the Vaughn-White murders. (Exhibit 118: Vaughn-White Felony Screening
Memo.)

       RESPONSE: The City Defendants object to Paragraph 245 on the basis it is

argumentative, lacks foundation, and assumes facts not in evidence. Without waiving these

objections: Disputed; Plaintiff’s Exhibit 245 does not indicate if Assistant State’s Attorneys

were “told” anything about the existence of eyewitnesses, and the written statement “No

eyewitnesses to incident” in the memo is not attributed to anyone.        Further, the State’s

Attorney’s Office was aware of Sheree Vaughn and Michael Vaughn by March 31, 1985.

(Plaintiff’s Exhibit 32, CITY-NF-001138).



                                              3
  Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 4 of 15 PageID #:8400



       246. On April 25, 1985, the Vaughn children viewed a lineup for the Vaughn-White
Murders and identified two men, whom police were pursuing as offenders in the Vaughn/White
murders. (Exhibit 19: 4-25-1985 Vaughn/White Supp. Report., Exhibit 120: Arrest Warrant for
Robert Jackson, Exhibit 121: Arrest Warrant for Counsial Glenn).

       RESPONSE: The City Defendants object to Paragraph 246 as argumentative (“pursuing

an offender”). Without waiving this objection: Not disputed.

       247. Defendant Wharrie has testified that he had no recollection of the Vaughn
children being brought in for a line-up of Fields, but Wharrie testified that it was something that
ought to have been done, given that they were eyewitnesses. (Exhibit 122: Wharrie Deposition,
pp. 81-82).

       RESPONSE: Not disputed.

       248. Defendant Brannigan is listed on Plaintiff Fields’s arrest warrant, on a June 17,
1985 Supplementary Report, describing Fields arrest and lineup identification, and on an August
31, 1985 Supplementary Report recounting a confidential informant’s statement that Hawkins
and Sumner (and not Fields) fled to Milwaukee following their role in the Vaughn-White
murders. (Exhibit 97: Fields Arrest Warrant, Exhibit 123: 6-17-1985 Supp. Report, Exhibit 112:
8-31-1985 Supplementary Report.)

       RESPONSE: Not disputed, except to clarify that the August 31, 1985 Supplementary

Report does not specifically state the confidential informant said Fields did not flee to

Milwaukee with Hawkins and Sumner.

        249. In Anthony’s Sumner’s January 3, 1992 statement given to ASA Jack Hynes;
Sumner admitted that he named Fields as a participant in the murders because “[he] was
confused and afraid. Nathson Fields had put [his] family out of one of the El Rukn buildings and
[he] did not like him.” (Exhibit: 27 Sumner Recantation to Hynes).

       RESPONSE: The City Defendants object to Paragraph 249 as it is vague and ambiguous

as to which of the two double murders it refers to. Without waiving the objection, and to the

extent this paragraph refers to the Smith/Hickman murders: Disputed. Sumner’s January 3,

1992 statement says his statement to the federal grand jury on or about March 23, 1987 was true

except for the information specified in the January 3, 1992 statement regarding the

Vaughn/White and Barnett Hall murders.         (Plaintiff’s Exhibit 27).   Further, AUSA Hogan

advised the State’s Attorney’s Office on December 10, 1991, that Sumner’s prior testimony

                                                4
  Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 5 of 15 PageID #:8401



regarding the Smith/Hickman murders was “completely truthful.” (Plaintiff’s Exhibit 66). To

the extent this paragraph refers to the Vaughan/White murders:        Not disputed, with the

clarification Sumner stated he named Fields as a participant in the Vaughn/White murders

because “I was confused and afraid. Nathson Fields had put my family out of one of the El Rukn

buildings and I did not like him.” (Id.)

       250. AUSA William Hogan has testified learned that Anthony Sumner had falsely
implicated Nathson Fields in the Vaughn-White murders in May or June of 1991, that that he
waited until December of 1991 to notify the Cook County State’s Attorney because, he (Hogan)
was busy. (Exhibit 110: 10-11-2013 Hogan Testimony, pp. 167-168.)

       RESPONSE: The City Defendants dispute the assertions contained in paragraph 250 as

they are unsupported by the cited portion of the record. AUSA William Hogan testified that in

late May or early June 1991 Earl Hawkins told him Nathson Fields was not involved in the

Vaughn/White murders. He testified he confronted Sumner about Hawkins’ claim that Fields

was not involved in the Vaughn/White murders in December 1991. He testified he did not

confront Sumner sooner because he was on trial and/or supervising El Rukn trials during that

time frame and Sumner was out of town. He testified his recollection was he talked to Sumner on

December 9, 1991 and wrote a letter to the Cook County State’s Attorney’s Office regarding the

misinformation about Fields’ involvement in the Vaughn/White murders on December 10, 1991.

(Plaintiff’s Ex. 110).

        251. On June 25, 1985, defendant O’Callaghan testified before a grand jury regarding
Fields’s supposed role in the Hickman-Smith murders – O’Callaghan testified that Fields had
been identified by eyewitnesses as a shooter in the Hickman-Smith murder. (Exhibit 124: 6-25-
1985 O’Callaghan Grand Jury Testimony).

       RESPONSE: The City Defendants object to this paragraph as argumentative (“supposed

role”). Without waiving the objection: Not disputed.

        252. Defendant O’Callaghan testified that in the course of the Hickman-Smith
investigation, he “knocked on every door in the complex; including a “hundred apartments,”
and that the police were “going after” people who had been identified on the scene “and

                                               5
  Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 6 of 15 PageID #:8402



hundreds more, every door on every floor was knocked on.” (Exhibit 103: O’Callaghan
Deposition, pp. 112, 177, 182.)

       RESPONSE: Not disputed.

       253. In the wake of Fields’s arrest, Assistant State’s Attorney Jack Hynes wrote a
memo to Assistant State’s Attorney Tim Quinn, who held a supervisory role at the time,
informing Quinn that defendant O’Callaghan had information on the Hickman-Smith witnesses
and that, according to detectives, the witnesses to the Hickman-Smith shooting were not gang
members. (Exhibit 125: Hynes Note to Quinn; Exhibit 122: Wharrie Deposition, pp. 84-86)

       RESPONSE: The City Defendants object to this paragraph as argumentative (“in the

wake of …”) and not relevant to any issue on summary judgment. Without waiving these

objections: Not disputed, except to clarify there is nothing in the memo to suggest it was written

“in the wake of Fields’ arrest” or that Quinn “held a supervisory role.”

        254. A Crime lab report purporting to relate to a Hickman-Smith lineup, and signed by
defendant Joseph Murphy, indicates that one Ray Fergerson was identified by persons viewing
the lineup; later the detective division version of this document shows Fergerson’s name was
crossed; a supplementary report drafted three days later shows Hawkins name being inserted as
the person identified in the line-up. (Exhibit 126: Crime Lab Lineup Reports with Fergerson
identified and later scratched out, Exhibit 127: 5-21-1985 Supp. Report.)

       RESPONSE: The City Defendants object to Paragraph 254 as argumentative

(“Hawkins’ name being inserted”) and not relevant to any issue raised on summary judgment.

Without waiving these objections: Not disputed, with the following clarifications. On May 18,

1985 during the Smith/Hickman investigation, witnesses viewed a line-up that included Earl

Hawkins and Ray Fergerson (DSOF ¶51); the witnesses identified Earl Hawkins as an offender

in the Smith/Hickman murders, but Detective Coffman, who was not present at the line-up

mistakenly noted on a Crime Laboratory Report form that Ray Fergerson had been identified

(DSOF ¶52); when Murphy, who had been present at the line-up, saw the report erroneously

indicated Fergerson had been identified, he scratched out the word “identified” that had been

placed next to Fergerson’s name (DSOF ¶53); the Crime Laboratory Report form that Coffman

filled out consists of a set of duplicate pages, with the Detective Division copy on top, and the

                                                 6
  Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 7 of 15 PageID #:8403



Detective Division copy reflects Murphy’s crossing out of the word “identified” next to

Fergerson’s name (DSOF ¶54); and the supplementary police report pertaining to the May 18,

1985 line-up reflects that Hawkins was identified by the witnesses. (DSOF ¶55).

       255. Defendant Murphy has admitted that it was “absolutely” impossible for Ray
Fergerson to have been involved in the Hickman Smith shooting. (Exhibit 128: Murphy
Deposition, pp. 183-185)

        RESPONSE: The City Defendants object to Paragraph 255 as not relevant to any issue

raised on summary judgment. Without waiving this objection: Not disputed.

       256. A general progress report, signed by defendant Murphy concerning the Hickman-
Smith homicide, purportedly dated May 14, 1985, appears in neither the eight pages of notes
tendered to Fields at trial, or in the CPD’s permanent retention file for the Hickman-Smith
shooting, nor the recently tendered street file. (Exhibit 1: Street File, Exhibit 129: Permanent
Retention File, Exhibit 43: 8 pages of notes from the State’s Attorney’s Office, Exhibit 33:
Murphy GPR dated May 14.)

        RESPONSE: The City Defendants object to Paragraph 256 as argumentative (“street

file”) and as unsupported by the record to the extent it implies Mr. Smeeton received a total of

only eight pages of police department records in response to his subpoena (see City Defendants

Response to Plaintiff’s Rule 56.1 Statement of Fact, ¶56). Without waiving these objections:

The City Defendants do not dispute the general progress report identified as Plaintiff’s Exhibit

33 is not contained in the eight pages identified as Plaintiff’s Exhibit 43, the permanent retention

file identified as Plaintiff’s Exhibit 129, or the subject file identified as Plaintiff’s Exhibit 1.

        257. In a body of handwritten notes which defendant Murphy has acknowledged to be
his own, taken during interviews with Earl Hawkins in 1988, Murphy appears to review a series
of crimes which were pinned on the El Rukns; on page 19 of these notes, Murphy makes an entry
for “Talman Hickman + Jerome Smith” and below this makes the notation “Refer to the notes I
took in April 1986 in Special Notes.” (Exhibit 130: Murphy Notes from 2-9-1988, Exhibit 128:
Murphy Deposition, pp. 283-286).

        RESPONSE: The City Defendants object to paragraph 257 as argumentative (“pinned

on”), unsupported by the record (same), and vague (“appears to review …”). Without waiving

these objections: the City Defendants do not dispute Murphy acknowledged the handwritten

                                                    7
  Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 8 of 15 PageID #:8404



notes identified as Plaintiff’s Exhibit 130 were his own and were taken during interviews with

Earl Hawkins in 1988, and they do not dispute page 19 of those notes says “Talman Hickman +

Jerome Smith” and below that, “Refer to the notes I took in April 1986 in Special Notes.”

       258. Murphy has testified that the April 1986 “Special Notes” referenced above, refer
to a general progress report, which is double-dated May 14, 1985 and May 14, 1986. Exhibit
128: Murphy Deposition, pp. 283-286).

       RESPONSE: Not disputed, except to clarify Murphy testified the general progress

report (Plaintiff’s Exhibit 33) was prepared on May 14, 1985. (Plaintiff’s Exhibit 128, at 284-

85).

       259. In a May 1, 1991 memorandum to the Commanding Officer of Area 2 Detective
Division, and a sergeant in Internal Affairs, defendant Murphy conceded that he had interviewed
Anthony Sumner on May 14, 1985 about the Ronnie Bell murder. (Exhibit 131: 5-1-1991 Murphy
Memo re: Houston v. Partee).

       RESPONSE: The City Defendants object to Paragraph 259 as argumentative

(“conceded”) and not relevant to any issue raised on summary judgment. Without waiving the

objection: Not disputed.

      260. The City contends that it has lost its litigation file in Houston v. Partee in which
Murphy, Brannigan, and Wharrie were all named as defendants. (Exhibit 52: City’s Answers to
Second Request to Admit, No 12).

       RESPONSE: The City Defendants object to Paragraph 260 as partially unsupported by

the record cited and not relevant to any issue raised on summary judgment. Without waiving

these objections, the City Defendants do not dispute Murphy, Brannigan, and Wharrie were

named defendants in the Houston v. Partee litigation. The City Defendants do not dispute the

City has been unable to located the litigation file from the 1990 Houston v. Partee civil lawsuit.

       261. A General Progress Report signed by defendant Murphy and describing Sumner’s
account of the Hickman-Smith murders implicating Fields, shows the date of May 14, 1985 at
the head of the page but it shows the date of May 14, 1986 as the date he signed it. (Exhibit 33:
Murphy May, 14 GPR.)



                                                 8
  Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 9 of 15 PageID #:8405



       RESPONSE: Not disputed, except to clarify Murphy prepared the general progress

report on May 14, 1985, and the insertion of “May 14, 1986” in a box at the bottom of the form

was a mistake. (Plaintiff’s Exhibit 128, at 284-86).

       262. In June of 1986, while Fields’s trial was ongoing, federal law enforcement
communicated to the Cook County State’s Attorney’s Office, their suspicions that William
Swano was arranging a bribe with Judge Thomas Maloney. (Exhibit 132: 6-18-1986 FBI
Teletype, pp. 4-5.)

       RESPONSE: Not disputed.

       263. As he has previously testified, Nathson Fields knew nothing about the attempt to
bribe Judge Maloney before the attempted bribe became public knowledge; Nathson Fields was
never contacted or questioned by law enforcement personnel about the bribe. (Exhibit 113:
Affidavit of Nathson Fields.)

       RESPONSE: Disputed. See City Defendants’ Response to Plaintiff’s Local Rule 56.1

Statement, ¶120). The City Defendants do not dispute Exhibit 113 indicates Fields claims he

was never contacted or questioned by law enforcement personnel about the bribe.

         264. As the Hickman-Smith murder trial was about to commence, George Carter,
initially one of Fields’s co-defendants, was dismissed from the case and walked free. (Exhibit
133: Deposition of George Carter, pp. 97-98.)

       RESPONSE: The City Defendants object to Paragraph 264 as vague and argumentative

(“walked free”). Without waiving these objections, and to the extent “walked free” means Carter

was released from custody: Not disputed.

       265. A Supplemental Report signed by defendants Murphy and O’Callaghan and
describing a supposed identification of George Carter in a Hickman-Smith lineup, shows Carter
was identified by witnesses on May 18, 1985 – days before Carter’s actual arrest on May 21,
1985 – the day his arrest warrant was issued. (Exhibit 134: Carter Warrant, Exhibit 135: ASA
Memo on George Carter’s Arrest, Exhibit 136: 5-21-1985 George Carter Arrest Supp. Report).

       RESPONSE: The City Defendants object to Paragraph 265 as not relevant to any issue

raised on summary judgment. Without waiving this objection: The City Defendants do not

dispute Carter was arrested on May 21, 1985, and was identified by witnesses in a line-up held

on that date.    The City Defendants do not dispute a Supplementary Report signed by

                                                9
  Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 10 of 15 PageID #:8406



O’Callaghan and Murphy (Plaintiff’s Exhibit 136) erroneously lists the date of the Carter line-up

as May 18, 1985. The City Defendants do not dispute the Carter arrest warrant was issued May

21, 1985.

         266. George Carter was later charged with the Smith-Hickman murders in the federal
indictment brought against Carter and dozens of other El Rukns; Derrick Kees and Earl Hawkins
testified against Carter but he was acquitted on the Hickman and Smith murder charges. (Exhibit
133: Deposition of George Carter, p. 58.)

        RESPONSE: The City Defendants object to Paragraph 266 as not relevant to any issue

raised on summary judgment. Without waiving this objection: Not disputed that Carter so

testified.

        267. In 1984, Carlos Willis lived with his grandmother near the scene of the Hickman-
Smith murders. At the Willis [sic] heard the gunshots and looked out his window, saw the bodies
and then saw two men running from the scene of the murder with masks on, because of the masks
he was unable to identify the men. Willis testified that defendant O’Callaghan tried to get him to
identify Hawkins in the line-up by repeatedly asking Willis if he recognized Hawkins, which
Willis was unable to do. (Exhibit 137: 6-23-1986 Testimony of Carlos Willis, pp. 526-534)

        RESPONSE: The City Defendants object to Paragraph 267 as hearsay and not relevant

to any issue raised on summary judgment. Without waiving these objections: The first sentence

is not disputed. As to the second sentence, the City Defendants dispute Willis’ cited testimony

supports the assertions that he looked out his window, saw the bodies, and saw two men running

from the scene. The City Defendants do not dispute Willis testified as indicated in the third

sentence.

       268. Evelyn Custer, Carlos Willis’ grandmother, testified that she overheard
O’Callaghan tell her grandson “don’t worry about anything” and “just to agree with, you know,
what he was saying.” Custer also testified as to improper suggestions of favors by O’Callaghan.
(Exhibit 138: 6-23-1986 testimony of Evelyn Custer, pp. 546-550).

        RESPONSE: The City Defendants object to Paragraph 264 as hearsay, vague

(“suggestions of favors”), argumentative (“improper”), and not relevant to any issue raised on

summary judgment. Without waiving these objections, the City Defendants do not dispute


                                               10
 Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 11 of 15 PageID #:8407



Custer testified “I didn’t hear all of it, but my grandson didn’t want to go in there and he, you

know, told him don’t worry about anything and just to agree with, you know, what he was

saying.” The City Defendants dispute Custer’s cited testimony supports the assertion in the

second sentence.

       269. In Earl Hawkins’ initial meetings with defendant Brannigan at Menard (upon
Hawkins’ decision to cooperate with law enforcement in 1987) Earl Hawkins offered statements
concerning the murder of Willie Bibbs; Hawkins felt comfortable raising the Bibbs murder
because he had already been unsuccessfully prosecuted for that crime, and he believed that he
was now safe from prosecution under the double jeopardy rule; Hawkins testified that Brannigan
told Hawkins “You got to show something that would show good face (sic) ... You better come
up with something quick..” (Exhibit 109: Hawkins Deposition, pp. 101-103.)

       RESPONSE: Not disputed that Hawkins so testified.

      270. Earl Hawkins has testified that defendant Brannigan helped convince him
(Hawkins) to cooperate by assuring him that he would only serve 20 years in prison, a period
which Hawkins considered “doable.” (Exhibit 109: Hawkins Deposition, pp. 186-187.)

       RESPONSE: Not disputed.

       271. Earl Hawkins has repeatedly testified that he would say anything to avoid the
death penalty. (Exhibit 139: Hawkins Testimony of 2-25-2009, p. 87, Exhibit 140: Hawkins
Testimony in People v. Fort date: 10-18-1988, p. 224)

       RESPONSE: The City Defendants object to Paragraph 271 as vague and argumentative.

Without waiving these objections: Not disputed Hawkins testified he would lie to get off death

row, and “you could say” that he would say anything to get off of death row.

        272. In exchange for his testifying for the state in Fields’s 2009 murder trial, Earl
Hawkins entered into an agreement with the Cook County State’s Attorney’s Office whereby his
murder charges were dismissed and he pleaded guilty to two counts of armed violence, for which
he would serve 42 consecutive years per count. (Exhibit 139: Hawkins Testimony of 2-25-2009,
pp. 5-7.)

       RESPONSE: Not disputed, with the clarification the term of 84 years would run

concurrently with his federal sentence of 60 years.

        273. On December 9, 2013, in exchange for testifying against Fields in this proceeding
and in the civil innocence hearing, Earl Hawkins had his sentence reduced from two consecutive
42 year sentences in Illinois state prison time to two consecutive 39 year sentences, with an

                                                11
 Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 12 of 15 PageID #:8408



understanding that he would not serve any state time beyond his 60-year federal sentence.
(Exhibit 141: Hawkins 12-9-2013 Plea Agreement, Exhibit 142: Hawkins Testimony 8-21-2013,
pp. 202-207)

       RESPONSE: Disputed; the Plea Agreement expressly indicates it is limited to the Cook

County State’s Attorney’s Office, and reflects Hawkins’ agreement to “fully and truthfully

cooperate with the People of the State of Illinois.” The State’s agreement with Hawkins was not

made with respect to this lawsuit.

        274. On October 9, 2013, in exchange for testifying against Fields in this proceeding
and in the civil innocence hearing, Derrick Kees received a five-year reduction in his Illinois
state prison sentence. (Exhibit 143: Derrick Kees 10-9-2013 Plea Hearing, p. 10.)

       RESPONSE: Disputed; the agreement between the State and Kees was for his truthful

testimony in the certificate of innocence proceeding. (Plaintiff’s Exhibit 43, at 8-9). The State’s

agreement with Kees was not made with respect to this lawsuit.

        275. Between 2012 and 2013, the Cook County State’s Attorney’s Office covered at
least three rental payments for Tramell Davis, saving him from eviction, in exchange for
testifying against Fields in this proceeding and in the civil innocence hearing. (Exhibit
144: Tramell Davis Deposition, pp. 137-138)

       RESPONSE: Disputed; according to the portion of the testimony cited in this paragraph,

the State provided rent assistance to Davis so he would not get evicted and financial assistance

for him to come to Chicago for a deposition. There is no evidence anything was provided to

Davis in exchange for him testifying against Fields in this lawsuit.

        276. On May 4, 2012, this Court entered a minute order granting a motion for a
protective order brought by witness Gerald Morris’s attorney Heather Winslow, and barring the
parties or their attorneys from contacting Gerald Morris, other than through questions in a duly
noticed deposition. The order states in part: “absent prior order of court, no party in this case, no
attorney for any party in this case, and no person acting on behalf of or in concert with any party
or attorney for any party may have contact with Morris other than to question him at a duly
noticed deposition;” the Court directed all counsel to communicate the order to their clients.
Docket 225.

       RESPONSE: The City Defendants object to Paragraph 276 as not relevant to any issue

raised on summary judgment. Without waiving this objection: Not disputed.

                                                 12
 Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 13 of 15 PageID #:8409



        277. On July 2, 2013, at the request of ASA Brian Sexton, investigators for the Cook
County State’s Attorney’s Office drove to Jefferson City, MO to contact Gerald Morris and
question him about the Nathson Fields case. When Morris refused to identify himself to the
detectives they obtained a photo of Morris and returned to his home with a uniformed Jefferson
City police officer. Morris identified himself but refused to be interviewed (Exhibit 145: 7-9-
2013 SAO Investigative Report).

       RESPONSE: The City Defendants object to Paragraph 277 as not relevant to any issue

raised on summary judgment. Without waiving this objection, the City Defendants do not

dispute Exhibit 145 contains information supporting the assertions in this paragraph.

       278. As of January 9, 2014 Heather Winslow, Gerald Morris’ attorney, has never been
contacted by Brian Sexton or any personnel from the Cook County State’s Attorney’s Office
regarding their outreach to Morris; after learning of the state’s attorneys attempts to contact
Morris she made at least two calls to ASA Sexton, leaving messages specifically inquiring about
the contacts with Gerald Morris, and received no response. (Exhibit 146: Affidavit of Heather
Winslow).

       RESPONSE: The City Defendants object to Paragraph 278 as not relevant to any issue

raised on summary judgment. Without waiving this objection, the City Defendants do not

dispute Exhibit 146 contains information supporting the assertions in this paragraph.

        279. As a result of Fields’s wrongful conviction, his time on death row, his time
incarcerated, and his time spent out of jail awaiting a new trial, Fields has [sic] Some of the
symptoms he has include: trouble sleeping (and when sleeping having nightmares about his time
in prison on death row); trouble concentrating; constant fear because of how easy it was for the
police to frame him. He also has trouble keeping the thoughts out of his head of his
imprisonment, the conditions he was subjected to, and, the men he watched walk to their death
while on death row. He has been diagnosed with post-traumatic stress disorder. (Exhibit 113:
Affidavit of Nathson Fields.)

       RESPONSE: Disputed. (See DSOF, ¶128).




                                               13
 Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 14 of 15 PageID #:8410



Dated: January 24, 2014                     Respectfully submitted,


                                      By: s/ Paul A. Michalik
                                         One of the Attorneys for City Defendants
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                                       14
 Case: 1:10-cv-01168 Document #: 478 Filed: 01/25/14 Page 15 of 15 PageID #:8411



                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 24, 2014, I electronically filed the foregoing City

Defendants’ Response to Plaintiff’s Statement of Additional Facts Supplementing

Plaintiff’s Local Rule 56.1 Statement with the Clerk of the Court using the ECF system, which

sent electronic notification of the filing on the same day to:

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                                                   s/ Paul A. Michalik
